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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

MALIBU MEDIA, LLC,                                 )
                                                   )
        Plaintiff,                                 )   Civil Action Case No. 1:18-cv-01618
                                                   )   Honorable John Z. Lee
v.                                                 )
                                                   )
GERMOND CHE PATTON,                                )
                                                   )
                                                   )
        Defendant.                                 )
                                                   )

                     PLAINTIFF’S MOTION FOR ENTRY OF JUDGMENT
                           AGAINST GERMOND CHE PATTON

        Plaintiff, Malibu Media, LLC (“Plaintiff”), by and through undersigned counsel, and

pursuant to Fed.R.Civ.P. 56, and this Honorable Court’s Minute Entry of October 31, 2019

[CM/ECF 53], hereby files its Motion for Entry of Judgment (“Motion”) against Defendant,

Germond Che Patton (“Defendant”), and in support thereof, states:

personal jurisdiction over defendant because (i) Defendant committed the tortious conduct in this

State, (ii) Defendant resides in this State, and/or (iii) Defendant has engaged in substantial and not

isolated business activity in this State.

        1.      On October 31, 2019 this Court entered an order granting Plaintiff’s motion for

summary judgment.

        2.      This Motion is further based on the Memorandum of Points and Authorities in

Support of Motion for Entry of Judgment filed contemporaneously herewith, and the record of the

proceedings and papers on file herein. These materials are sufficient to justify the requested relief.

        WHEREFORE, Plaintiff, Malibu Media, LLC, respectfully requests entry of a judgment in

favor of Plaintiff and against Defendant, Germond Che Patton, in the form of the Proposed
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Judgment and Permanent Injunction attached hereto, and for such other and further relief this Court

deems just and proper.


       Dated: November 18, 2019                      Respectfully submitted,

                                             By:      /s/ Mary K. Schulz
                                                     Mary K. Schulz, Esq.
                                                     1144 E. State Street, Suite A260
                                                     Geneva, IL 60134
                                                     Tel: (312) 213-7196
                                                     Email: medialitigationfirm@gmail.com
                                                     Attorneys for Plaintiff




                                CERTIFICATE OF SERVICE

        I hereby certify that on November 18, 2019, I electronically filed the foregoing document
with the Clerk of the Court and all parties using the CM/ECF system. Participants in the case who
are registered CM/ECF users will be served by the CM/ECF system.


                                                     By:     /s/ Mary K. Schulz




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